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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 JORDAN ROSENBLATT, Individually and On              )
 Behalf of All Others Similarly Situated,            )
                                                     )
                       Plaintiff,                    ) Case No. 1:18-cv-01860-LPS
                                                     )
        v.                                           ) CLASS ACTION
                                                     )
 INTEGRATED DEVICE TECHNOLOGY,                       ) JURY TRIAL DEMANDED
 INC., GREGORY L. WATERS, KEN                        )
 KANNAPPAN, UMESH PADVAL, GORDON                     )
 W. PARNELL, ROBERT A. RANGO, NORM                   )
 TAFFE, and SELENA LOH LACROIX,                      )
                                                     )
                       Defendants.                   )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Jordan

Rosenblatt (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”)

with prejudice as to the Plaintiff only. Defendants have filed neither an answer nor a motion for

summary judgment in the Action, and no class has been certified.

 Dated: January 31, 2019                             RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
                                                   Brian D. Long (#4347)
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